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IN THE UNITED sTATEs DrsTRrCT COURT 0540 §

  
   

FOR THE WESTERN DrsTRrCT OF TENNESSEE 6`23 "'"\QC
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IN RE: "»S:IJO?/Cgé,~/,

TRACY H. ADAMS and
STACY K. ADAMS,

Debtors, No. 05-1235-T»An

TRACY H. ADAMS and
STACY K. ADAMS,

Bankr. NO. 02-14500
Adv. No. 05-5152

Appellants,
v.

JASON G. WHITWORTH,

\_/\_/\_/\-/\-_/\_J\_/\~_/\_/\-_/\_/\_/\_/\_/\_/\_/\_/\_/

Appellee.

 

ORDER DENYING MOTION FOR LEAVE TO FILE I`NTERLOCUTORY APPEAL

 

Appellant Debtors Tracy H. Adams and Stacy K. Adams have filed a motion for an
interlocutory appeal from the Bankruptcy Court’s denial of their objection to the removal
of a malpractice action from state court to the Bankruptcy Court.1 For the reasons set forth
below, the motion is DENIED.

On J urie 6, 2005, Appellant Debtors filed a legal malpractice complaint against Jason

 

l Appellant Debtors filed an election to have this court hear their appeal, rather than the Bankruptcy

Appellate Panel.

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G. Whitworth in the Circuit Court of Madison County, Tennessee. The malpractice
complaint alleged that Whitworth Was negligent in representing Appellant Debtors in a state
court cause of` action against F.B. Financial Services, Jeannie Moore, and CitiFinancial.
Whitworth removed the action to the United States Bankruptcy Court for the Western
District. Appellant Debtors filed an objection to the removal A hearing Was held on July
20, 2005. In an order entered on July 29, 2005, the Bankruptcy Court held that removal of
the malpractice action Was proper and denied the objection to the removal

Appellant Debtors now seek permission to file an interlocutory appeal in this court
pursuant to 28 U.S.C. § 158(a). This section provides that:

The district courts of` the United States shall have jurisdiction to hear appeals

from final judgments, orders, and decrees, and, Witb leave of the court, from

interlocutory orders and decrees, of bankruptcy judges entered in cases and

proceedings referred to the bankruptcy judges under section 157 of` this title. ..
Additiorially, Federal Rule of` Bankruptcy Procedure 8003 provides for a motion f`or leave
to appeal from an interlocutory order pursuant to 28 U.S.C. § 158. Whether to hear an
interlocutory appeal is within the court‘s discretion, and courts are reluctant to hear
interlocutory appeals Firestone Tire & Rubber Co. v. Risiord, 449 U.S. 368 (1981). Such
appeals are permissible only in exceptional or extraordinary circumstances w City Bank
and rfrost Co. v. Stiles, 29 B.R. 389 (M.D. Tenn. 1982) (citing Cardwell v. Chesaoeake and
Ohio Railway Co., 504 F.2d 444, 446 (6th Cir.1974)). The appellant bears the burden of

establishing exceptional circumstances Warranting review of an interlocutory order. fn re

Bradford, 192 B.R. 914 (E.D. Tenn. 1996).

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Neither 28 U.S.C. § 158 nor the Bankruptcy Rules provide a specific standard for
evaluating whether to allow interlocutory appeals; thus, district courts often use the
standards governing appeals of interlocutory orders from district courts to courts of appeal
under 28 U.S.C. § 1292(b). fn re Matter ofBertoli, 58 B.R. 992, 993 (D.N.J.l986), ajj"d,
812 F.2d 136 (3“i Cir.l987); In re Sandenhill, Inc., 304 B.R. 692, 694 (E.D. Pa.2004);
Trustee ofJarzran, Inc. v. Wz`nston & Strawn, 208 B.R. 898, 900 (N.D. lll.1997). Pursuant
to § 1292(b), an appeal may be taken from an interlocutory order only when the order
involves (1) a controlling question of law (2) as to which there is substantial ground for a
difference of opinion, and (3) an immediate appeal may materially advance the ultimate
termination of` the litigation fn re Kruckenberg, 160 B.R. 663 (D. Kan.l993); In re MCOrp.
Financz`al, [nc., 139 B.R. 820, 823 (S.D. Tex. 1992);[)1 re Bekerlndus. Cc)rp., 89 B.R. 336
(s.D.N.Y.i988).

A decision of a lower court involves a controlling question of law “if` its resolution
is quite likely to affect the outcome or the further course of the litigation, even if it is not
certain to do so.” Sokaogon Gaming Enters. Corn. v. Tushie-Montgomerv Assoc., 86 F.3d
65 6, 659 (7“‘ Cir.l996). The controlling question of law in the present case is whether the
Bankruptcy Court has subject matter jurisdiction over the malpractice action. The Second
Circuit has determined that an order involving subject matter jurisdiction raises a controlling

question of law, g Klinghoff`er S.N.C. Achille Lauro Ed Altri-Gestione, 921 F.2d 21 , 24

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(2“d Cir. 1990); McLeod v. Columbia County, 254 F. Supp.2d 1340 (S.D. Ga. 2003), and

this court agrees However, the court finds that there is no substantial ground for a
difference of opinion as to the ruling made by the Bankruptcy Court.
The Bankruptcy Court found that the malpractice action

arises under the Court’s order of J anuary 2, 2003, approving the employment
of Whitworth as counsel for the bankruptcy estate and case trustee, Michael
T. Tabor (“Trustee”) in a state court action (“State Court Action”).

Further pursuant to motion filed by the Trustee on September 21, 2004, the
Trustee sought approval of settlement reached in the State Court Action in
which Mr. Whitworth was employed and represented the bankruptcy estate
and Trustee.

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On October 26, 2004, an Order was entered granting the settlement reached jj jj¢," /J
and approving attorney’s fees to Whitworth. f {U_`D

t .1 l

Whitworth’s involvement in representing the estate and in obtaining f ~/gfzjz w

settlement approved by this Court arises under Title 11. fw

lt is pursuant to this Court’s orders that Whitworth was employed and a
settlement approved in the State Court Action in which Whitworth represented
the Trustee and bankruptcy estate. Plaintiffs now bring action against
Whitworth for his representation in the State Court Action.

The Removed Case is a core proceeding within the meaning of 28 U.S.C. §
157(b)(2)(A) and (O).

Plaintiffs’ malpractice complaint seeks damages from Whitworth for actions
in obtaining a settlement of an asset of the estate clearly constitutes a core
proceeding that arises under Title 11 within the meaning of 28 U.S.C. §
l334(b).

Bankruptcy Order, 7/20/05.

Plaintiffs contend that the bankruptcy order is “contrary to controlling precedent from

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the United States Court of Appeals for the Sixth Circuit.” Plaintiffs’ Motion at p. 6.
Plaintiffs cite Stewart v. Henry, 62 Fed. Appx. 610 (6th Cir. 2003), for the proposition that
“a bankruptcy court does not have jurisdiction to entertain a legal malpractice case brought
by debtors against an attorney who represented them and the Bankruptcy Estate. ” Plaintiffs’
l\/lotion at p. 6.

Plaintiffs are in error for two reason s. First, Ste_Mt is an unpublished opinion which
has little precedential value. See Mfrs.' Indus. Relations Ass'n v. E. Akron Castin,¢;r Co., 58
F.3d 204, 208 (6th Cir.1995). More important, however, are the factual distinctions between

Stewart and this case. The court in Stewart described the debtors’ claims as follows:

 

The Stewarts did not bring this malpractice action against Henry in his official
capacity as special counsel to the trustee and the complaint does not claim that
Henry mishandled the counterclaim settlement on behalf of the trustee
Rather, the Stewarts claim that before Henry was appointed as special counsel
to the trustee, he promised to represent them personally in the matter of the
lender liability counterclaim, and that he in fact lied to them, misled them into
believing he was representing their personal interests and, by instead
representing the adverse inte'rests of the estate, breached both his fiduciary
duty and the duty of loyalty owed by an attorney to his client.

l_d_. at 613-14. In the present case, Appellant Debtors have not alleged that Whitworth had
any duty to them personally, as opposed to their bankruptcy estate.2 The interests at stake
in Ste_wart were the debtors “personal interests.” Nowhere do the Appellant Debtors allege
that they were led to believe that Whitworth represented them rather than their bankruptcy

estate.

 

Thc malpractice complaint generally alleges that Whitworrh owed "a duty of care" to Appellant Debtors.

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Because the court finds that there is no substantial ground for a difference of opinion
as to the ruling made by the Bankruptcy Court, the motion for an interlocutory appeal must
be denied. C.f., Adco Oil Co. v. Rovell, 357 F.3d 664 (7th Cir. 2004) (“Adjudication of
Adco's claim against Rovell has been complicated by the fact that Rovell filed a federal
bankruptcy proceeding, so the malpractice suit has proceeded as an adversary action within
the bankruptcy.”)

Furthermore, as noted by Whitworth, a motion to dismiss the malpractice action is
pending in the Bankruptcy Court and is set to be heard on September 7, 2005. lf the parties
are dissatisfied with that result, an appeal of all the issues may be made when a final order
is entered, thus promoting judicial economy. See Things Remembered. Inc. v. Petrarca, 516
U.S. 124, 132 n. l (1995) (Ginsburg, concurring) (an interlocutory decision to not remand
under 28 U.S.C. § 1452(b) leaves “open for eventual appellate consideration” the question
of the court's subject-matter jurisdiction).3

For all these reasons, the motion for an interlocutory appeal is DENIED. The clerk

 

3 Appellant Debtors Suggest that, if they prevail on their malpractice claim in the Bankruptcy Court,

Whitworth might "switch sides" on the jurisdictional issue and argue that the Bankruptcy Court did not, in fact, have
subject matter jurisdiction In his response, Whitworth has stated that he will not make such an argument The court
can assure Appellant Debtors that any such argument would not be Well-taken.

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is directed to enter judgment accordingly

IT IS SO ORDERED.

JA S D. TODD
UN ED STATES DISTRICT JUDGE

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DATE

     
 

  

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This notice confirms a copy of the document docketed as number 2 in
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Honorable .l ames Todd
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